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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8   Sheldon E. Richardson and Barbara L.                No. CV-15-01235-PHX-SRB
     Richardson,
 9                                                       ORDER OF DISMISSAL WITH
                  Plaintiffs,                            PREJUDICE PURSUANT TO
10                                                       FEDERAL RULE OF CIVIL
           vs.                                           PROCEDURE 41
11
     First Western Trust Bank and Athene Annuity
12   & Life Company,
13                Defendants.
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15         The Court, having considered the parties’ Stipulation for Dismissal with Prejudice

16   filed by Morris C. Aaron, as Chapter 11 Trustee of the bankruptcy estate of plaintiff

17   Barbara L. Richardson and defendant First Western Trust Bank, and good cause

18   appearing,

19         IT IS HEREBY ORDERED dismissing with prejudice all causes of action filed
20   by Plaintiff Barbara L. Richardson against Defendants First Western Trust Bank and
21   Athene Annuity & Life Company, all sides to bear their own attorneys’ fees and costs.
22                Dated this 29th day of August, 2016.
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